

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-64,121-01






HABIB AYMAN BEATTY, Relator



v.



JASPER COUNTY DISTRICT CLERK, Respondent








ON APPLICATION FOR A WRIT OF MANDAMUS 


FROM JASPER COUNTY






		Per curiam.



O R D E R




	This is an original application for a writ of mandamus.  Relator contends he filed
applications for writ of habeas corpus in cause numbers 9066HB and 9965HB in Judicial District
Court 1A on November 11, 2005, but more than thirty-five days have elapsed and the
applications have not been forwarded to the Court of Criminal Appeals.

	It is this Court's opinion that additional information is required before a decision can be
reached on the motion for leave to file the instant action.  The respondent, District Clerk of
Jasper County, is ordered to file a response with this Court within thirty days by submitting the
record on such habeas corpus applications or a copy of timely-entered orders designating issues
to be investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex.Cr.App. 1992); Martin v.
Hamlin, 25 S.W.3rd 718 (Tex.Cr.App. 2000), or by stating the nature of any applications filed by
Relator such that they are not filed pursuant to Article 11.07, §&nbsp;3, TEX.CODE CRIM.PROC., or
that no applications by Relator have been filed.  This application for writ of mandamus is held in
abeyance pending compliance with this order.

	IT IS SO ORDERED this the 22nd day of February, 2006.


DO NOT PUBLISH	


